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UNITED STATES DISTRICT COURT FOR
THE SOUTHERN DISTRICT OF NEW YORK

PAUL ALVAREZ, HOLGUER CAJAMBE,
JICKSON CAMPOVERDE, ANTONIO
CASTRO, ASAEL DAVILA, LUIS DE LA
CRUZ, SANTOS MENDOZA, NELSON
PALAJUACHI, PABLO SALDOVIAGA,
CLAUDIO SANCHEZ, HUGO SANCHEZ,
and ALEX ZUMBANA, individually and in
behalf of all other persons similarly situated,

                         Plaintiﬀs,
                                                         22 CV 7949 (PGG) (JW)

                    –against–


ACNY DEVELOPERS INC., DEFALCO
CONSTRUCTION INC, WILLIAM M.
KUKIELKA, and MICHAEL C. FALCO,
jointly and severally,

                         Defendants.

                    FIRST AMENDED COMPLAINT AND JURY DEMAND

       1.      �e plaintiﬀs, in behalf of other similarly situated current and former employees of

the defendants who consent to become party plaintiﬀs, pursuant to the Fair Labor Standards Act,

29 U.S.C. § 216(b), allege that the defendants violated the Fair Labor Standards Act, 29 U.S.C. §

201, et seq., and the defendants are liable to the plaintiﬀs and party plaintiﬀs for unpaid or

underpaid (1) minimum wages, (2) overtime compensation, and such other relief available by law.

       2.      �e plaintiﬀs further allege, pursuant to N.Y. Lab. Law §§ 198(1-a) and 663(1), that

the defendants violated the Minimum Wage Act, N.Y. Lab. Law § 650, et seq., and section 191 of

the New York Labor Law, and the defendants are liable to the plaintiﬀs for unpaid or underpaid (1)

minimum wages, (2) overtime compensation, (3) wages not timely paid, and such other relief

available by law.



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        3.      �e plaintiﬀs further allege, pursuant to the Wage �eft Prevention Act, N.Y. Lab.

Law § 198(1-b)–(1-d), that the defendants violated the same, N.Y. Lab. Law § 195(1)–(3), and that

the plaintiﬀs should be awarded of the defendants statutory damages, injunctive relief, and such

other relief available by law.

                                  JURISDICTION AND VENUE

        4.      Jurisdiction of this action is conferred upon the Court by the Fair Labor Standards

Act, 29 U.S.C. § 216(b), and further by 28 U.S.C. §§ 1331 and 1337.

        5.      Jurisdiction over all other claims is within the supplemental jurisdiction of the

Court pursuant to 28 U.S.C. § 1367.

        6.      Venue is proper in this district pursuant to 28 U.S.C. § 1391. �e parties reside where

set forth herein. A substantial part of the events or omissions giving rise to the claims alleged herein

occurred in the judicial district of this Court.

                                              PARTIES

        7.      �e plaintiﬀs, Paul Alvarez, Holguer Cajambe, Jickson Campoverde, Antonio

Castro, Asael Davila, Luis De La Cruz, Santos Mendoza, Nelson Palajuachi, Pablo Saldoviaga,

Claudio Sanchez, Hugo Sanchez, and Alex Zumbana, are and were at all relevant times adults

residing in New York.

        8.      �e defendant ACNY Developers Inc. is and was at all relevant times a New York

business corporation with its oﬃce in New York County.

        9.      �e defendant DeFalco Construction Inc is and was at all relevant times a New York

business corporation with its oﬃce in Bronx County.

        10.     Upon information and belief, the defendant William M. Kukielka is and was at all

relevant times an adult residing in New York County.



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       11.     Upon information and belief, the defendant Michael C. Falco is and was at all

relevant times an adult residing in Duchess County.

                           COLLECTIVE ACTION ALLEGATIONS

       12.     Pursuant to 29 U.S.C. § 216(b), the plaintiﬀs commence this action as to the

plaintiﬀs’ claims arising under the Fair Labor Standards Act as a collective action in behalf of all

similarly situated current and former employees of the defendants at any time since three years

before the date of this complaint to the entry of judgment in this action who consent to become

party plaintiﬀs.

       13.     �e plaintiﬀs and the putative party plaintiﬀs have had substantially similar jobs

and compensation and have been subject to the defendants’ common policies and practices of

willfully violating the Fair Labor Standards Act as set forth in this complaint. �e claims of the

plaintiﬀs stated herein are similar to those of the putative party plaintiﬀs.

                                    STATEMENT OF FACTS

       14.     At all relevant times, the defendants’ business is construction.

       15.     Upon information and belief, at all relevant times, the defendant William M.

Kukielka was an owner, shareholder, oﬃcer, or manager of the defendants’ business.

       16.     Upon information and belief, at all relevant times, the defendant William M.

Kukielka was an individual who actively participated in the business of the defendants, exercised

substantial control over the functions of the employees of the defendants, including the plaintiﬀs

and party plaintiﬀs, and acted directly or indirectly in the interest of an employer.

       17.     Upon information and belief, at all relevant times, the defendant William M.

Kukielka had the capacity on behalf of the defendants to establish the wages and hours of the

employees of the defendants.



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         18.   Upon information and belief, at all relevant times, the defendant Michael C. Falco

was an owner, shareholder, oﬃcer, or manager of the defendants’ business.

         19.   Upon information and belief, at all relevant times, the defendant Michael C. Falco

was an individual who actively participated in the business of the defendants, exercised substantial

control over the functions of the employees of the defendants, including the plaintiﬀs and party

plaintiﬀs, and acted directly or indirectly in the interest of an employer.

         20.   Upon information and belief, at all relevant times, the defendant Michael C. Falco

had the capacity on behalf of the defendants to establish the wages and hours of the employees of

the defendants.

         21.   �e defendants are associated and are joint employers, act in the interest of each

other with respect to the employees of the defendants, have common policies and practices as to

wages and hours, and share control over the defendants’ employees.

         22.   �e defendants employed the plaintiﬀs approximately from September 20 until

October 10, 2021.

         23.   �e defendants employed the plaintiﬀs as construction workers.

         24.   �e plaintiﬀs worked for the defendants approximately 40 hours per week but

worked 48 hours during the workweek ending on October 3, 2021.

         25.   �e defendants promised to pay the plaintiﬀs $30.00 per hour.

         26.   From September 20, 2021, to October 10, 2021, the defendants paid the plaintiﬀs no

wages.

         27.   �e plaintiﬀs, during their employment by the defendants, handled materials that

moved in interstate commerce from without to within the state of New York.




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        28.        �e defendants willfully failed to pay the plaintiﬀs and party plaintiﬀs the

applicable minimum wage.

        29.        �e plaintiﬀs and party plaintiﬀs worked more than forty hours each workweek, yet

the defendants willfully failed to pay the plaintiﬀs and party plaintiﬀs overtime compensation of

one and one-half times their regular rate of pay.

        30.        �e defendants failed to pay the plaintiﬀs their wages timely and weekly.

        31.        �e defendants failed to provide the plaintiﬀs with a notice and acknowledgment at

the time of hiring.

        32.        �e defendants failed to provide the plaintiﬀs with a statement with each payment

of wages.

        33.        Upon information and belief, while the defendants employed the plaintiﬀs and party

plaintiﬀs, the defendants failed to post or keep posted notices explaining the minimum wage rights

of employees under the Fair Labor Standards Act and the New York Labor Law, and the plaintiﬀs

and party plaintiﬀs were uninformed of their rights during such times.

        34.        Upon information and belief, while the defendants employed the plaintiﬀs and party

plaintiﬀs, the defendants failed to maintain accurate and suﬃcient records.

                                   FIRST CLAIM FOR RELIEF:
                                  FAIR LABOR STANDARDS ACT

        35.        �e plaintiﬀs, on behalf of the plaintiﬀs and party plaintiﬀs, reallege and

incorporate by reference paragraphs 1 through 34 as if they were set forth again herein.

        36.        At all relevant times, the defendants, employers, employed the plaintiﬀs and party

plaintiﬀs, employees, within the meaning of the Fair Labor Standards Act, 29 U.S.C. § 203(d),

(e)(1), and (g).




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        37.     �e business activities of the defendants are related and performed through uniﬁed

operation or common control for a common business purpose and constitute an enterprise, within

the meaning of the Fair Labor Standards Act, 29 U.S.C. § 203(r).

        38.     �e enterprise of the defendants employs employees engaged in commerce or in

the production of goods for commerce, or in handling, selling, or otherwise working on goods or

materials that have been moved in or produced for commerce, within the meaning of the Fair Labor

Standards Act, 29 U.S.C. § 203(s)(1)(A)(i).

        39.     Upon information and belief, at all relevant times, the enterprise of the defendants

has had an annual gross volume of sales made or business done not less than of $500,000, exclusive

of separate retail excise taxes, within the meaning of the Fair Labor Standards Act, 29 U.S.C. §

203(s)(1)(A)(ii).

        40.     �erefore, upon information and belief, at all relevant times, the plaintiﬀs and party

plaintiﬀs have been employed in an enterprise engaged in commerce or in the production of goods

for commerce, within the meaning of the Fair Labor Standards Act, 29 U.S.C. § 203(s)(1)(A).

        41.     �e defendants in many workweeks willfully and repeatedly violated the Fair Labor

Standards Act, 29 U.S.C. §§ 206 and 215(a)(2), by failing to pay the plaintiﬀs and party plaintiﬀs

the minimum wage applicable under the Fair Labor Standards Act, 29 U.S.C. § 206.

        42.     �e defendants in many workweeks willfully and repeatedly violated the Fair Labor

Standards Act, 29 U.S.C. §§ 207 and 215(a)(2), by failing to pay the plaintiﬀs and party plaintiﬀs

at a rate not less than one and one-half times the regular rate of pay for work performed more than

forty hours in a workweek.

        43.     By 29 U.S.C. § 216(b), the defendants are liable to the plaintiﬀs and party plaintiﬀs

for unpaid or underpaid (1) minimum wages and (2) overtime compensation.




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       44.     �e defendants failed to post notices of the defendants’ employees’ rights under the

law, required by 29 C.F.R. § 516.4.

       45.     Because of the defendants’ failure to post notices of the defendants’ employees’

rights under the law, the plaintiﬀs and party plaintiﬀs are entitled to the equitable tolling of their

claims during the time that the defendants failed to post such notices.

       46.     �e foregoing conduct, as alleged, constitutes a willful violation of the Fair Labor

Standards Act, within the meaning of the Portal-to-Portal Act, 29 U.S.C. § 255(a).

       47.     �e plaintiﬀs and party plaintiﬀs are further entitled to recover of the defendants an

equal amount as liquidated damages pursuant to the Fair Labor Standards Act, 29 U.S.C. § 216(b).

                               SECOND CLAIM FOR RELIEF:
                                  MINIMUM WAGE ACT

       48.     �e plaintiﬀs reallege and incorporate by reference paragraphs 1 through 47 as if

they were set forth again herein.

       49.     At all relevant times, the defendants engaged in construction, within the meaning

of the Construction Industry Fair Play Act, N.Y. Lab. Law § 861-b(1).

       50.     At all relevant times, the defendants were contractors, within the meaning of the

Construction Industry Fair Play Act, N.Y. Lab. Law § 861-b(2–3).

       51.     At all relevant times, the defendants, employers, employed the plaintiﬀs,

employees, within the meaning of the New York Labor Law, §§ 2(5)–(7) and 190(2)–(3), the

Minimum Wage Act, § 651(5)–(6), the Construction Industry Fair Play Act, § 861-c, and N.Y.

Comp. Codes R. & Regs. tit. 12, § 142-2.14.

       52.     �e applicable minimum wage was $15.00 per hour pursuant to N.Y. Lab. Law §

652 and N.Y. Comp. Codes R. & Regs. tit. 12, § 142-2.1.




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        53.     �e defendants violated the plaintiﬀs’ rights by failing to pay or underpaying the

plaintiﬀs the required minimum wage, in violation of N.Y. Lab. Law § 652 and N.Y. Comp. Codes

R. & Regs. tit. 12, § 142-2.1.

        54.     �e defendants violated the plaintiﬀs’ rights by failing to pay or underpaying the

plaintiﬀs overtime compensation at a rate not less than one and one-half times the plaintiﬀs’ regular

rate of pay for the hours the plaintiﬀs worked more than forty per workweek, in violation of N.Y.

Comp. Codes R. & Regs. tit. 12, § 142-2.2.

        55.     By N.Y. Lab. Law §§ 198(1-a) and 663(1), the defendants are liable to the plaintiﬀs

for unpaid or underpaid (1) minimum wages and (2) overtime compensation.

        56.     �e plaintiﬀs are further entitled to recover of the defendants liquidated damages

pursuant to the Wage �eft Prevention Act, N.Y. Lab. Law § 198(1-a), and the Minimum Wage Act,

N.Y. Lab. Law § 663(1).

        57.     �e defendants failed to post notices of the defendants’ employees’ rights under the

law, required by N.Y. Lab. Law § 661 and N.Y. Comp. Codes R. & Regs. tit. 12, § 142-2.8.

        58.     Because of the defendants’ failure to post notices of the defendants’ employees’

rights under the law, the plaintiﬀs are entitled to the equitable tolling of the plaintiﬀs’ claims during

the time that the defendants failed to post such notices.

                                   THIRD CLAIM FOR RELIEF:
                                 FAILURE TO TIMELY PAY WAGES

        59.     �e plaintiﬀs reallege and incorporate by reference paragraphs 1 through 56 as if

they were set forth again herein.

        60.     At all relevant times, the defendants employed the plaintiﬀs as manual workers,

within the meaning of the New York Labor Law, § 190(4).




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       61.     �e defendants have no authorization from the New York Department of Labor,

pursuant to the New York Labor Law, § 191(1)(a)(ii), to pay any of the plaintiﬀs less frequently

than weekly.

       62.     �e defendants failed to pay the plaintiﬀs the plaintiﬀs’ wages weekly and not later

than seven calendar days after the end of the week in which the wages were earned, in violation of

section 191(1)(a) of the New York Labor Law.

       63.     By N.Y. Lab. Law § 198(1-a), the defendants are liable to the plaintiﬀs for wages

not timely paid.

       64.     �e plaintiﬀs are further entitled to recover of the defendants liquidated damages

pursuant to the Wage �eft Prevention Act, N.Y. Lab. Law § 198(1-a).

                              FOURTH CLAIM FOR RELIEF:
                             WAGE THEFT PREVENTION ACT

       65.     �e plaintiﬀs reallege and incorporate by reference paragraphs 1 through 62 as if

they were set forth again herein.

       66.     �e defendants failed to furnish to the plaintiﬀs, at the time of hiring, a notice

containing the rate or rates of pay and basis thereof, whether paid by the hour, shift, day, week,

salary, piece, commission, or other; allowances, if any, claimed as part of the minimum wage,

including tip, meal, or lodging allowances; the regular pay day designated by the employer; any

doing business as names used by the employer; the physical address of the employer’s main oﬃce

or principal place of business, and a mailing address if diﬀerent; the telephone number of the

employer, and anything otherwise required by law; in violation of the Wage �eft Prevention Act,

N.Y. Lab. Law § 195(1).

       67.     Due to the defendants’ violation of the Wage �eft Prevention Act, N.Y. Lab. Law

§ 195(1), the plaintiﬀs should be awarded of the defendants statutory damages of $50.00 per


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workweek that the violation occurred, up to a maximum of $2,500.00, until February 26, 2015, and

statutory damages of $50.00 per workday that the violation occurred, up to a maximum of

$5,000.00, thereafter, pursuant to N.Y. Lab. Law § 198(1-b).

       68.     �e defendants failed to furnish to the plaintiﬀs with each wage payment a

statement listing the dates of work covered by that payment of wages; name of employee; name of

employer; address and phone number of employer; rate or rates of pay and basis thereof, whether

paid by the hour, shift, day, week, salary, piece, commission, or other; the regular hourly rate or

rates of pay; the overtime rate or rates of pay; the number of regular hours worked, and the number

of overtime hours worked; gross wages; deductions; allowances, if any, claimed as part of the

minimum wage; and net wages; in violation of the Wage �eft Prevention Act, N.Y. Lab. Law §

195(3) and N.Y. Comp. Codes R. & Regs. tit. 12, § 142-2.7.

       69.     Due to the defendants’ violation of the Wage �eft Prevention Act, N.Y. Lab. Law

§ 195(3) and N.Y. Comp. Codes R. & Regs. tit. 12, § 142-2.7, the plaintiﬀs should be awarded of

the defendants statutory damages of $100.00 per workweek that the violation occurred, up to a

maximum of $2,500.00, until February 26, 2015, and statutory damages of $250.00 per workday

that the violation occurred, up to a maximum of $5,000.00, thereafter, pursuant to N.Y. Lab. Law

§ 198(1-d).

       70.     Further, the defendants, including the defendants’ oﬃcers, agents, employees, and

those persons in active concert or participation with the defendants, should be permanently

enjoined from violating the Wage �eft Prevention Act, § 195(1)–(3), pursuant to the same, N.Y.

Lab. Law § 198(1-b)–(1-d).




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                                     FIFTH CLAIM FOR RELIEF:
                                       DECLARATORY RELIEF

        71.      �e plaintiﬀs reallege and incorporate by reference paragraphs 1 through 68 as if

they were set forth again herein.

        72.      Pursuant to the Declaratory Judgment Act, 28 U.S.C. §§ 2201–02, and Rule 57 of

the Federal Rules of Civil Procedure, the plaintiﬀs may obtain declaratory relief.

        73.      �e defendants violated the Fair Labor Standards Act, Minimum Wage Act, section

191 of the New York Labor Law, and the Wage �eft Prevention Act.

        74.      It is in the public interest to have these declarations of rights recorded.

        75.      A declaratory judgment serves the useful purpose of clarifying and settling the legal

issues in this action.

        76.      A declaratory judgment would terminate and aﬀord relief from uncertainty,

insecurity, and controversy giving rise to this action.

                                         PRAYER FOR RELIEF

        77.      Wherefore, the plaintiﬀs, on behalf of the plaintiﬀs and party plaintiﬀs, pray this

Court grant as relief:

                 a.      designation of this action as a collective action in behalf of the party plaintiﬀs

              and prompt issuance of notice pursuant to 29 U.S.C. § 216(b) to all similarly situated

              putative party plaintiﬀs, apprising them of the pendency of this action, permitting them

              to assert timely claims under the Fair Labor Standards Act in this action by ﬁling

              individual consents to become party plaintiﬀs pursuant to 29 U.S.C. § 216(b) and

              appointing the plaintiﬀs and the plaintiﬀs’ attorneys to represent the party plaintiﬀs;




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         b.    a declaratory judgment that the practices complained of herein are unlawful

      under the Fair Labor Standards Act, the Minimum Wage Act, section 191 of the New

      York Labor Law, and the Wage �eft Prevention Act;

         c.    an award of unpaid or underpaid (1) minimum wages and (2) overtime

      compensation, due under the Fair Labor Standards Act;

         d.    an award of liquidated damages pursuant to the Fair Labor Standards Act, 29

      U.S.C. § 216(b);

         e.    an award of unpaid or underpaid (1) minimum wages and (2) overtime

      compensation, due under the Minimum Wage Act;

         f.    an award of wages not timely paid, due under section 191(1)(a) of the New

      York Labor Law;

         g.    an award of liquidated damages pursuant to the Wage �eft Prevention Act,

      N.Y. Lab. Law § 198(1-a), and the Minimum Wage Act, N.Y. Lab. Law § 663(1);

         h.    an award of statutory damages for the defendants’ violation of the Wage �eft

      Prevention Act, N.Y. Lab. Law § 195(1)–(3), pursuant to the same, N.Y. Lab. Law §

      198(1-b)–(1-d);

         i.    a permanent injunction restraining the defendants, including the defendants’

      oﬃcers, agents, employees, and those persons in active concert or participation with

      the defendants, from violating the Wage �eft Prevention Act, N.Y. Lab. Law § 195(1)–

      (3), pursuant to the same, N.Y. Lab. Law § 198(1-b)–(1-d);

         j.    if liquidated damages pursuant to the Fair Labor Standards Act, 29 U.S.C. §

      216(b), are not awarded, an award of prejudgment interest pursuant to 28 U.S.C. § 1961;




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                k.    an award of prejudgment interest pursuant to the New York Civil Practice Law

             and Rules, §§ 5001–02;

                l.    an award of postjudgment interest pursuant to 28 U.S.C. § 1961 and/or the

             New York Civil Practice Law and Rules, § 5003;

                m.    an award of the attorney’s fees, costs, and further expenses up to ﬁfty dollars,

             of this action, pursuant to 29 U.S.C. § 216(b), and N.Y. Lab. Law §§ 198(1)–(2) and

             663(1); and

                n.    such other and further relief as this Court deems just and proper.

                                DEMAND FOR TRIAL BY JURY

       Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, the plaintiﬀs, on behalf of

the plaintiﬀs and party plaintiﬀs, demand a trial by jury on all questions of fact raised by the

complaint.

                                                       Law Oﬃce of Justin A. Zeller, P.C.

                                                       ______________________________________
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       April 26, 2023                                  Attorneys for plaintiﬀs




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